        Case 1:23-cv-00306-DKW-WRP Document 11 Filed 07/26/23 Page 1 of 2                                        PageID.48

HID 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                            District of Hawaii

        CENTER FOR BIOLOGICAL DIVERS ITY,
                                                                   )
                                                                   )
                             Plaintiff
                                                                   )
                                V.                                 )         Civil Action No. 1 :23-cv-00306 DKW-WRP
         NATIONAL MARINE FISHERIES SERVICE;                        )
      GINA RAIMONDO, U.S. Secretary of Commerce; and
     JANET COIT, Assistant Administrator, NOAA Fisheries,          )
                            Def endant
                                                                   )


                                                  SUMMONS IN A CML ACTION

To: (Def endant 's name and address)

                                         National Marine Fisheries Service
                                         1315 East-West Highway
                                         Silver Spring, MD 20910



          A lawsuit has been filed against you.

         Within 2 1 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the p laintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                  Maxx Phillips
                                  Center for Biological Diversity
                                  1188 Bishop Street, Suite 2001
                                  Honolulu, HI 96813


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               LUCY H. CARRILLO
                                                                               CLERK OF COURT


Date:    July 26, 2023                                                         Isl LUCY H . CARRILLO, by: JI, Deputy Clerk
                                                                                        Signature of Clerk or Deputy Clerk
        Case 1:23-cv-00306-DKW-WRP Document 11 Filed 07/26/23 Page 2 of 2                                          PageID.49

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                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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